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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                                                  CASE NO.:
  HOWARD COHAN,

         Plaintiff,

  vs.                                                              INJUNCTIVE RELIEF SOUGHT

  CNI THL OPS, LLC,
  d/b/a HAMPTON INN FT LAUDERDALE –
  CYPRESS CREEK, and
  W2005 NEW CENTURY HOTEL PORTFOLIO, L.P.,


        Defendants.
  ____________________________________________/
                                            COMPLAINT

         Plaintiff, HOWARD COHAN (“Plaintiff”), by and through undersigned counsel, hereby

  files this Complaint and sues CNI THL OPS, LLC, d/b/a HAMPTON INN FT LAUDERDALE –

  CYPRESS CREEK and W2005 NEW CENTURY HOTEL PORTFOLIO, L.P. (“collectively

  referred to as Defendants”), for declaratory and injunctive relief, attorneys’ fees, expenses and

  costs (including, but not limited to, court costs and expert fees) pursuant to 42 U.S.C. §12182 et.

  seq., and the 2010 Americans with Disabilities Act (“ADA”) and alleges as follows:


                                  JURISDICTION AND VENUE

         1.      This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

  §1331 for Plaintiff’s claims arising under Title 42 U.S.C. §12182 et. seq., based on Defendants’

  violations of Title III of the ADA. See also 28 U.S.C. §§2201 and 2202 as well as the 2010 ADA

  Standards.




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          2.      Venue is proper in this Court, Fort Lauderdale Division, pursuant to 28 U.S.C.

  §1391(B) and the Internal Operating Procedures for the United States District Court for the

  Southern District of Florida in that all events giving rise to the lawsuit occurred in Broward

  County, Florida.

                                                  PARTIES

          3.      Plaintiff, HOWARD COHAN is a resident of the state of Florida residing in Palm

  Beach County, Florida, and is otherwise sui juris.

          4.      Upon information and belief, Defendant, CNI THL OPS, LLC, is the lessee,

  operator, owner and/or lessor of the Real Property, which is subject to this lawsuit, and is located

  at 720 E. Cypress Creek Road, Fort Lauderdale, Florida 33334 (“Premises”) and is the owner of

  the improvements where the Premises is located.

          5.      Upon information and belief, Defendant, W2005 NEW CENTURY HOTEL

  PORTFOLIO, L.P., is the lessee, operator, owner and/or lessor of the Premises and is the owner

  of the improvements where the Premises is located.

          6.      The Premises is a place of public accommodation.

          7.      Defendants are authorized to conduct, and are in fact conducting, business within

  the state of Florida.

          8.      Plaintiff is an individual with numerous permanent disabilities including severe

  spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

  spine with nerve root compromise on the right side; a non-union fracture of the left acromion

  (shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

  knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe




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  basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms cause

  sudden onsets of severe pain and substantially limit Plaintiff’s major life activities.

          9.      At the time of Plaintiff’s visits to the Premises on March 11, 2020 and September

  5, 2020 (and prior to instituting this action), Plaintiff suffered from a “qualified disability” under

  the ADA and required the use of a handicap parking space and the use of other means of

  accessibility for persons with disabilities. Plaintiff personally visited the Premises, but was denied

  full and equal access and full and equal enjoyment of the facilities, services, goods and amenities

  within the Premises, even though he was a “bona fide patron”.

          10.     Plaintiff, in his individual capacity, will absolutely return to the Premises in the

  near future and avail himself to the services offered at the Premises when Defendants modify the

  Premises or modify the policies and practices to accommodate individuals who have physical

  disabilities.

          11.     Plaintiff is continuously aware of the violations at Defendants’ Premises and is

  aware that it would be a futile gesture to return to the Premises as long as those violations exist,

  and Plaintiff is not willing to suffer additional discrimination.

          12.     Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

  result of Defendants’ discrimination until Defendants are compelled to comply with the

  requirements of the ADA.

          13.     Plaintiff would like to be able to be a patron of the Premises in the near future and

  be able to enjoy the goods and services that are available to the able-bodied public, but is currently

  precluded from doing so as a result of Defendants’ discriminatory conduct as described herein.

  Plaintiff will continue to be precluded from using the Premises until corrective measures are taken

  at the Premises to eliminate the discrimination against persons with physical disabilities.



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          14.     Completely independent of his personal desire to have access to this place of public

  accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the purpose of

  discovering, encountering and engaging discrimination against the disabled in public

  accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

  personally visits the public accommodation; engages all of the barriers to access, or at least of

  those that Plaintiff is able to access; tests all of those barriers of access to determine whether and

  the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such

  discrimination; and subsequently returns to the Premises in the near future to verify its compliance

  or non-compliance with the ADA and to otherwise use the public accommodation as members of

  the able-bodied community are able to do. Independent of other subsequent visits, Plaintiff also

  intends to visit the Premises regularly to verify its compliance or non-compliance with the ADA,

  and its maintenance of the accessible features of the Premises. In this instance, Plaintiff, in

  Plaintiff’s individual capacity and as a “tester”, visited the Premises, encountered barriers to access

  at the Premises, engaged and tested those barriers, suffered legal harm and legal injury and will

  continue to suffer such harm and injury as a result of the illegal barriers to access and the violations

  of the ADA set forth herein. It is Plaintiff’s belief that said violations will not be corrected without

  Court intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

          15.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

  Defendants modify the Premises or modify the policies and practices to accommodate individuals

  who have physical disabilities to confirm said modifications have been completed in accordance

  with the requirements of the ADA.




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                 VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         16.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 15

  above as if fully stated herein.

         17.      On July 26, 1990, Congress enacted the ADA, 42 U.S.C. §12101 et. seq.

  Commercial enterprises were provided one and a half (1.5) years from enactment of the statute to

  implement its requirements. The effective date of Title III of the ADA was January 26, 1992, or

  January 26, 1993 if Defendants have ten (10) or fewer employees and gross receipts of $500,000.00

  or less. See 42 U.S.C. §12182; see also 28 C.F.R. §36.508(a).

         18.      Congress found, among other things, that:

               a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                  this number shall increase as the population continues to grow older;

               b. historically, society has tended to isolate and segregate individuals with disabilities

                  and, despite some improvements, such forms of discrimination against disabled

                  individuals continue to be a pervasive social problem, requiring serious attention;

               c. discrimination against disabled individuals persists in such critical areas as

                  employment, housing, public accommodations, transportation, communication,

                  recreation, institutionalization, health services, voting and access to public services

                  and public facilities;

               d. individuals with disabilities continually suffer forms of discrimination, including

                  outright intentional exclusion, the discriminatory effects of architectural,

                  transportation, and communication barriers, failure to make modifications to

                  existing facilities and practices, exclusionary qualification standards and criteria,




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                  segregation, and relegation to lesser services, programs, benefits, or other

                  opportunities; and

               e. the continuing existence of unfair and unnecessary discrimination and prejudice

                  denies people with disabilities the opportunity to compete on an equal basis and to

                  pursue those opportunities for which our country is justifiably famous, and costs

                  the United States billions of dollars in unnecessary expenses resulting from

                  dependency and nonproductivity.

  42 U.S.C. §12101(a)(1)-(3),(5) and (9).

         19.      Congress explicitly stated that the purpose of the ADA was to:

               a. provide a clear and comprehensive national mandate for elimination of

                  discrimination against individuals with disabilities;

               b. provide clear, strong, consistent, enforceable standards addressing discrimination

                  against individuals with disabilities; and

               c. invoke the sweep of congressional authority, including the power to enforce the

                  fourteenth amendment and to regulate commerce, in order to address the major

                  areas of discrimination faced on a daily basis by people with disabilities.

  42 U.S.C. §12101(b)(1)(2) and (4).

         20.      Pursuant to 42 U.S.C. §12182(7), 28 CFR §36.104 and the 2010 ADA Standards,

  Defendants’ Premises is a place of public accommodation covered by the ADA by the fact it

  provides services to the general public and must be in compliance therewith.

         21.      Defendants have discriminated, and continue to discriminate against Plaintiff and

  others who are similarly situated by denying access to and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations located at the Premises, as



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  prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq., and by failing to remove

  architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).

          22.     Plaintiff has visited the Premises and has been denied full and safe equal access to

  the facilities, and therefore suffered an injury in fact.

          23.     Plaintiff will return to the Premises in the near future and enjoy the goods, services,

  facilities, privileges, advantages and/or accommodations at the Premises on a planned, or a

  spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by Defendants’

  failure and refusal to provide persons with disabilities with full and equal access to its facilities at

  the Premises. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

  architectural barriers that are in violation of the ADA.

          24.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department

  of Justice, Office of the Attorney General promulgated Federal Regulations to implement the

  requirements of the ADA. See 28 CFR §36 and its successor the 2010 ADA Accessibility

  Guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, under which said Department

  may obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00 for each

  subsequent violation.1

          25.     Based on a preliminary inspection of the Premises, Defendants are in violation of

  42 U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against

  Plaintiff as a result of, inter alia, the following specific violation found in the Passenger Drop-Off

  Area:




  1
   Effective April 1, 2014 the civil penalties were increased, based on inflation, from $55,000.00 to
  $75,000.00 for the first violation and from $110,000.00 to $150,000.00 for subsequent violations.
  See 28 C.F.R. §§36 and 85.


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               a. Failing to provide a passenger loading zone with an access aisle marked with

                  striping in violation of 2010 ADAAG §§209, 209.1, 209.4, 503, 503.1, 503.3 and

                  503.3.3 and/or §§4.6, 4.6.1, 4.6.3 and 4.6.6 of the 1991 ADA Standards.

         26.      Based on a preliminary inspection of the Premises, Defendants are in violation of

  42 U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against

  Plaintiff as a result of, inter alia, the following specific violations found in the Lobby’s Men’s

  Restroom:

               a. Providing grab bars of improper horizontal length or spacing on the back or side

                  wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1, 604.5.2, 609 and 609.4

                  and/or §§4.26 and 4.26.2 of the 1991 ADA Standards.

               b. Failing to provide toilet paper dispensers in the proper position in front of the water

                  closet or at the correct height above the finished floor in violation of 2010 ADAAG

                  §§604, 604.7 and 309.4 and/or §4.16.6 of the 1991 ADA Standards.

               c. Failing to provide the proper spacing between a grab bar and an object projecting

                  out of the wall (the grab bar on plumbing) in violation of 2010 ADAAG §§604,

                  604.5, 604.5.1, 604.5.2, 609, 609.3 and 609.4 and/or §§4.16.4, 4.26 and 4.26.2 of

                  the 1991 ADA Standards.

               d. Failing to provide mirror(s) located above lavatories or countertops at the proper

                  height above the finished floor in violation of 2010 ADAAG §§603 and 603.3

                  and/or §§4.19 and 4.19.6 of the 1991 ADA Standards.

               e. Failing to provide proper knee clearance for a person with a disability under a

                  counter or sink element in violation of 2010 ADAAG §§306, 306.1, 306.3 and

                  306.3.1 and/or §4.24.3 of the 1991 ADA Standards.



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               f. Failing to provide the operable part of a soap dispenser or hand sanitizer dispenser

                  at the correct height above the finished floor in violation of 2010 ADAAG §§606,

                  606.1 and 308 and/or §4.16.6 and 4.27.3 of the 1991 ADA Standards.

               g. Failing to provide a dispenser in an accessible position (back wall or other

                  inaccessible place) so that it can be reached by a person with a disability in violation

                  of 2010 ADAAG §§606, 606.1, 308 and 308.2.2 and/or §§4.16.6, 4.22.7, 4.27 and

                  4.27.3 of the 1991 ADA Standards.

               h. Failing to provide a paper towel dispenser or its operable part at the correct height

                  above the finished floor in violation of 2010 ADAAG §§606, 606.1 and 308 and/or

                  §§4.16.6, 4.27, 4.27.3, 4.22.7 and 4.23.7 of the 1991 ADA Standards.

               i. Failing to provide a coat hook within the proper reach ranges for a person with a

                  disability in violation of 2010 ADAAG §§603, 603.4 and 308 and/or §§4.25.3, 4.2.5

                  and 4.1.3 of the 1991 ADA Standards.

               j. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                  exceeding the limits for a person with a disability in violation of 2010 ADAAG

                  §§404, 404.1, 404.2, 404.2.9 and 309.4 and/or §4.13.11 of the 1991 ADA

                  Standards.

         27.      Based on a preliminary inspection of the Premises, Defendants are in violation of

  42 U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against

  Plaintiff as a result of, inter alia, the following specific violations found in the Outdoor Seating

  Area near the Pool:




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                 a. Failing to provide seating for a person with a disability that has the correct clear

                    floor space for forward approach in violation of 2010 ADAAG §§902, 902.2, 305

                    and 306 and/or §§4.2.4, 4.2.5, 4.32.2 and 4.5 of the 1991 ADA Standards.

                 b. Failing to provide a sufficient amount of seating when dining surfaces are provided

                    for the consumption of food or drink for a person(s) with a disability in violation of

                    2010 ADAAG §§226, 226.1, 902, 305 and 306 and/or §5.1 of the 1991 ADA

                    Standards.

           28.      To the best of Plaintiff’s belief and knowledge, at the time of filing this lawsuit

  Defendants have failed to eliminate the specific violations set forth in paragraphs 25, 26 and 27

  above.

           29.      Although Defendants are charged with having knowledge of the violations,

  Defendants may not have had actual knowledge of said violations until this Complaint made

  Defendants aware of same.

           30.      To date, the readily achievable barriers and violations of the ADA still exist and

  have not been remedied or altered in such a way as to effectuate compliance with the provisions

  of the ADA.

           31.      As the owner, lessor, lessee or operator of the Premises, Defendants are required to

  comply with the ADA. To the extent the Premises, or portions thereof, existed and were occupied

  prior to January 26, 1992, the owner, lessor, lessee or operator has been under a continuing

  obligation to remove architectural barriers at the Premises where removal was readily achievable,

  as required by 28 C.F.R. §36.402.

           32.      To the extent the Premises, or portions thereof, were constructed for occupancy

  after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an obligation



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  to design and construct such Premises such that it is readily accessible to and usable by individual

  with disabilities, as required by 28 C.F.R. §36.401.

         33.      Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 CFR §36.304, Defendants

  were required to make the Premises, a place of public accommodation, accessible to persons with

  disabilities by January 28, 1992. As of the date of the filing of this Complaint, Defendants have

  failed to comply with this mandate.

         34.      Plaintiff has retained undersigned counsel for the filing and prosecution of this

  action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

  Defendants, pursuant to 42 U.S.C. §12205.

         35.      The violations alleged in paragraphs 25, 26 and 27 above are readily achievable to

  modify in order to bring the Premises or the Facilities/Property into compliance with the ADA.

         36.      In the instances where the 2010 ADAAG Standards do not apply to the violations

  listed in paragraphs 25, 26 and 27 above, the 1991 ADA Standards apply.

         37.      Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff’s injunctive relief, including entering an Order to alter the Premises to make them readily

  accessible to and useable by individuals with disabilities to the extent required by the ADA and

  closing the Premises until the requisite modifications are completed.

         WHEREFORE, Plaintiff demands judgment against Defendants and requests the following

  injunctive and declaratory relief:

               1. This Court declare that the Premises owned, operated and/or controlled by

                  Defendants are in violation of the ADA;




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           2. This Court enter an Order requiring Defendants to alter the Premises and/or their

              facilities to make them accessible to and usable by individuals with disabilities to

              the full extent required by Title III of the ADA;

           3. This Court enter an Order directing Defendants to evaluate and neutralize its

              policies, practices and procedures toward persons with disabilities, for such

              reasonable time so as to allow Defendants to undertake and complete corrective

              procedures to the Premises;

           4. This Court award reasonable attorneys’ fees, all costs (including, but not limited to

              the court costs and expert fees) and other expenses of suit to Plaintiff; and

           5. This Court award such other and further relief as it may deem necessary, just and

              proper.




  Dated:         9/8/2020

                                             Respectfully submitted by:


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